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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )        Case No. 8:09cr3
                                            )
                     Plaintiff,             )              ORDER
                                            )        TO WITHDRAW EXHIBITS
              vs.                           )        OR TO SHOW CAUSE WHY
                                            )        EXHIBITS SHOULD NOT BE
                                            )             DESTROYED
ANTONIO FRAUSTO,                            )
                                            )
                     Defendant.             )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the parties shall either

1) withdraw the following exhibits previously submitted in this matter within 14 calendar

days of the date of this order, or 2) show cause why the exhibits should not be destroyed:



              Government Exhibits 1-4, 6             Hearing held 1/27/09

              Defendant Exhibit     101              Hearing held 2/27/09

              Defendant Exhibit     101              Hearing held 3/6/09

              Defendant Exhibit     101              Hearing held 6/11/09

              Defendant Exhibits    102 - 104        Hearing held 7/9/10



       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 2nd day of September, 2011.

                                                     s/ Joseph F. Bataillon
                                                     Chief United States District Judge


                         proc\Exhibits\Form-Order to Withdraw or OSC Destroy, appeal time expired.wpd
                                                                                 Approved 02/15/07
